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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §            Case No: 2:15-cv-01169-RWS-RSP
                                    §
vs.                                 §            LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §            Case No: 2:15-cv-01183-JRG-RSP
.
                                    §
vs.                                 §            CONSOLIDATED CASE
                                    §
LVMH WATCH & JEWELRY USA INC. §
                                    §
      Defendant.                    §
___________________________________ §

                                         ORDER

       On this day the Court considered the Unopposed Motion to Dismiss LVMH Watch &
Jewelry USA Inc. It is therefore ORDERED that all claims by Plaintiff Symbology Innovations
LLC are hereby DISMISSED WITH PREJUDICE, and all claims by Defendant are hereby
DISMISSED AS MOOT, with each party to bear its own costs, expenses and attorneys’ fees.
      SIGNED this 3rd day of January, 2012.
       SIGNED this 12th day of July, 2016.




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                                                ROY S. PAYNE
                                                UNITED STATES MAGISTRATE JUDGE
